Case 4:09-cr-00043-SPF Document 35-2 Filed in USDC ND/OK on 04/13/09 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF OKLAHOMA

 LINDSEY K. SPRINGER,                                  )
                                                       )
          Plaintiff(s),                                )
                                                       )
 v.                                                    )      Case No. CIV-05-466-M
                                                       )
 INTERNAL REVENUE SERVICE, et al.,                     )
                                                       )
        Defendant.                                     )


                                             ORDER


        Pursuant to 28 U.S.C. § 455, I recuse as the judge to whom this case is assigned. The Clerk

 of the Court is directed to return this case to the regular procedure for random selection so

 that a successor judge may be determined.

        IT IS SO ORDERED this 28th day of April, 2005.
